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                       IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                               IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

             Leutrim Topalli,

                       Plaintiff,

             v.                                                           Case No.:

             Jefferson Capital Systems, LLC,

                   Defendant.
             ______________________________________/

                              STATEMENT OF CLAIM AND DEMAND FOR JURY TRIAL

                       Plaintiff Leutrim Topalli (“Plaintiff”), by and through her undersigned counsel, seeks

             redress for the unlawful practices of Defendant, Jefferson Capital Systems, LLC (“Defendant”), to

             wit, for Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

             (“FDCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559, et seq.

             (“FCCPA”), and in support thereof, alleges the following:

                                                NATURE OF THE ACTION

                  I.       THE FAIR DEBT COLLECTION PRACTICES ACT

                  1. The Fair Debt Collection Practices Act (the “FDCPA”) is a series of statutes which prohibit

                       a catalog of activities in connection with the collection of consumer debts by debt

                       collectors. See, 15 U.S.C. §1692, generally. Congress enacted the FDCPA to regulate the

                       collection of consumer debts by debt collectors. The express purposes of the FDCPA are

                       to “eliminate abusive debt collection practices by debt collectors, to insure that debt

                       collectors who refrain from using abusive debt collection practices are not competitively

                       disadvantaged, and to promote consistent State action to protect consumers against debt

                       collection abuses.” 15 U.S.C. § 1692(e).



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                    2. In enacting the FDCPA, the United States Congress found that “[t]here is abundant

                        evidence of the use of abusive, deceptive, and unfair debt collection practices by many debt

                        collectors,” which “contribute to the number of personal bankruptcies, to marital

                        instability, to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692(a).

                        Congress additionally found existing laws and procedures for redressing debt collection

                        injuries to be inadequate to protect consumers. 15 U.S.C. § 1692(b).

                    3. Accordingly, the FDCPA imposes civil liability on any person or entity that violates its

                        provisions, and establishes general standards of debt collector and provides for specific

                        consumer rights. 15 U.S.C. §1692k. The operative provisions of the FDCPA declare

                        certain rights to be provided to or claimed by debtors, forbid deceitful and misleading

                        practices, prohibit harassing and abusive tactics, and proscribe unfair or unconscionable

                        conduct, both generally and in a specific list of disapproved practices.

                    4. Section 1692c(b) of the FDCPA provides that “[e]xcept as provided in section 1692b of

                        this title, without the prior consent of the consumer given directly to the debt collector, or

                        the express permission of a court of competent jurisdiction, or as reasonably necessary to

                        effectuate a postjudgment judicial remedy, a debt collector may not communicate, in

                        connection with the collection of any debt, with any person other than the consumer, his

                        attorney, a consumer reporting agency if otherwise permitted by law, the creditor, the

                        attorney of the creditor, or the attorney of the debt collector.”1

                    5. The FDCPA is a strict liability statute. Taylor v. Perrin, Landry, deLaunay & Durand, 103

                        F.3d 1232 (5th Cir. 1997). “Because the Act imposes strict liability, a consumer need not

                        show intentional conduct by the debt collector to be entitled to damages.” Russell v.



             1
                 The exceptions listed in section 1692b of the FDCPA are inapplicable in this case.

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                      Equifax A.R.S., 74 F. 3d 30 (2d Cir. 1996); see also, Gearing v. Check Brokerage Corp.,

                      233 F.3d 469 (7th Cir. 2000) (holding unintentional misrepresentation of debt collector’s

                      legal status violated FDCPA).

                6. The FDCPA is a remedial statute, and therefore must be construed liberally in favor of the

                      debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The remedial

                      nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit &

                      Collection Services, Inc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the

                      Truth in Lending Act [15 U.S.C §1601], is a remedial statute, it should be construed

                      liberally in favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1107 (10th Cir. 2002).

                II.      THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

                7. “The Florida Consumer Collection Practices Act is a laudable legislative attempt to curb

                      what the Legislature evidently found to be a series of abuses in the area of debtor-creditor

                      relations.” Harris v. Beneficial Finance Company of Jacksonville, 338 So. 2d 196, 200-

                      201 (Fla 1976). The FCCPA is to be construed in a manner that is protective of the

                      consumer. See Fla. Stat. § 559.552 (providing that in the event of inconsistencies with the

                      FDCPA, the provision that is more protective of the debtor prevails). Moreover, “[u]nlike

                      the FDCPA, the [FCCPA] applies not only to debt collectors but to any persons collecting

                      a consumer debt.” In re Hathcock, 437 B.R. 696, 704 (Bankr. M.D. Fla. 2010); See also

                      Heard v. Mathis, 344 So. 2d 651, 654 (Fla. 1st DCA 1977) (holding that, the FCCPA

                      applied to “a private individual making an oral, non-interest bearing loan to a friend.”).

                8. The FCCPA proscribes conduct similar to that prohibited by the FDCPA. Specifically, the

                      FCCPA states:

                             In collecting consumer debts, no person shall:
                             […]

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                           (5) Disclose to a person other than the debtor or her or his family
                           information affecting the debtor's reputation, whether or not for
                           credit worthiness, with knowledge or reason to know that the other
                           person does not have a legitimate business need for the information
                           or that the information is false.

                    Fla. Stat. § 559.72.

                9. In applying and construing the FCCPA, “due consideration and great weight shall be given

                    to the interpretations of the Federal Trade Commission and the federal courts relating to

                    the federal Fair Debt Collection Practices Act.” Fla. Stat. § 559.77(5).

                10. As set forth in more detail below, Defendant’s written communications to Plaintiff violate

                    the aforementioned and/or foregoing provisions of the FDCPA and FCCPA, thereby giving

                    rise to this action and entitling Plaintiff to damages for the same.

                                             JURISDICTION AND VENUE

                11. This is an action for damages greater than $500 but less than $2,500, exclusive of attorney’s

                    fees and costs.

                12. This action arises out of the Defendant’s unlawful conduct, to wit, the acts and/or omissions

                    of the Defendant in attempting to collect a consumer debt from Plaintiff violated the

                    FDCPA and FCCPA.

                13. Venue in Hillsborough County is proper because Plaintiff resides here, the Defendant

                    transacts business here, and the complained conduct of Defendant occurred here.

                                                          PARTIES

                14. Plaintiff is natural person, and a citizen of the State of Florida, residing in Hillsborough

                    County, Florida.

                15. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) and Fla. Stat. § 559.55(8).

                16. Defendant does business in Florida.


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                17. Defendant holds itself out as a business providing debt collection services and identified

                    itself as a debt collector when communicating with Plaintiff.

                18. Defendant uses the telephone, internet and/or mails in a business the principal purpose of

                    which is the collection of debts.

                19. Defendant regularly collects or attempts to collect, directly or indirectly, debts owed or due

                    or asserted to be owed or due another.

                20. Defendant holds a Consumer Collection Agency License issued by the Florida Office of

                    Financial Regulation.

                21. Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) and Fla. Stat. §

                    559.55(7).

                22. At all times material, Defendant was acting as a debt collector when communicating with

                    Plaintiff.

                23. At all times material hereto, Defendant was a corporation subject to the FCCPA. See, e.g.,

                    Cook v. Blazer Fin. Services, Inc., 332 So. 2d 677, 679 (Fla. 1st Dist. App. 1976) (citing

                    Fla. Stat. § 1.01(3)).

                                              FACTUAL ALLEGATIONS

                24. Plaintiff is alleged to owe a financial obligation (hereinafter the “Alleged Debt”).

                25. The Alleged Debt consists of amounts allegedly due for consumer/personal purchases.

                26. The Alleged Debt is a “debt” as defined by 15 U.S.C. § 1692a(5) as it is a financial

                    obligation allegedly incurred by Plaintiff primarily for personal, family or household

                    purposes.

                27. On or about November 24, 2020, Defendant caused to be sent a written communication to

                    Plaintiff (hereinafter “Defendant’s Collection Letter”). A true and correct copy of



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                    Defendant’s Collection Letter is attached hereto as “Exhibit A”.

                28. Defendant’s Collection Letter is a “communication” as defined by 15 U.S.C. § 1692a(2) in

                    that Defendant’s Collection Letter conveys information regarding the Alleged Debt to

                    Plaintiff.

                29. As demonstrated by its form and content, Defendant’s Collection Letter is an attempt by

                    Defendant to collect the Alleged Debt from Plaintiff.

                30. Upon information and belief, Defendant did not generate, print and/or transmit Defendant’s

                    Collection Letter to Plaintiff. Instead, Defendant outsourced the generation, printing,

                    and/or transmission of Defendant’s Collection Letter to a third-party vendor (hereinafter

                    “Vendor”).

                31. In connection with Defendant’s above-described outsourcing, Defendant communicated to

                    Vendor information regarding Plaintiff’s alleged debt including, but not limited to,

                    Plaintiff’s name, address, status as an alleged debtor, alleged account balance, alleged

                    account number, and/or alleged creditor.

                32. Plaintiff did not consent to Defendant’s communication with Vendor.

                33. The information communicated to Vendor by Defendant affects Plaintiff’s reputation.

                34. All conditions precedent to the filing of this action have occurred or been waived.

                                      COUNT I – VIOLATION OF THE FDCPA

                35. Plaintiff re-asserts and re-alleges paragraphs 1 through 34 as if fully restated herein.

                36. As detailed more fully above, Defendant is a debt collector and attempted to collect a

                    consumer debt from Plaintiff by and through Defendant’s Collection Letter. In doing so,

                    Defendant violated the FDCPA, to wit:

                        a. Section 1692c(b) by communicating, in connection with the collection of any debt,



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                            with any person other than the consumer, his attorney, a consumer reporting agency

                            if otherwise permitted by law, the creditor, the attorney of the creditor, or the

                            attorney of the debt collector, without Plaintiff’s prior consent given directly to

                            Defendant. See, e.g., Hunstein v. Preferred Collection and Mgt. Services, Inc., 19-

                            14434, 2021 WL 1556069 (11th Cir. Apr. 21, 2021).

                37. Defendant’s aforementioned violations of the FDCPA have caused an injury-in-fact to

                    Plaintiff that is concrete and particularized in that Plaintiff’s statutory right to privacy with

                    respect to Plaintiff’s financial information has been violated. Hunstein v. Preferred

                    Collection and Mgt. Services, Inc., 19-14434, 2021 WL 1556069, at *4 (11th Cir. Apr. 21,

                    2021)(“Notably, the FDCPA's statutory findings explicitly identify “invasions of

                    individual privacy” as one of the harms against which the statute is directed. 15 U.S.C. §

                    1692(a). And to that end, the statutory provision under which Hunstein has sued here

                    expressly prohibits a debt collector from “communicat[ing]” with any but a few persons or

                    entities “in connection with the collection of any debt.” Id. § 1692c(b). Although §

                    1692c(b) isn't identical in all respects to the invasion-of-privacy tort, we have no difficulty

                    concluding that it bears “a close relationship to a harm that has traditionally been regarded

                    as providing a basis for a lawsuit in English or American courts.” Spokeo, 136 S. Ct. at

                    1549.”); Church v. Accretive Health, Inc., 654 Fed. Appx. 990, 995 (11th Cir.

                    2016)(“Church has alleged that the FDCPA governs the letter at issue, and thus, alleges

                    she had a right to receive the FDCPA-required disclosures. Thus, Church has sufficiently

                    alleged that she has sustained a concrete—i.e., ‘real’—injury because she did not receive

                    the allegedly required disclosures. The invasion of Church’s right to receive the disclosures

                    is not hypothetical or uncertain; Church did not receive information to which she alleges



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                    she was entitled. While this injury may not have resulted in tangible economic or physical

                    harm that courts often expect, the Supreme Court has made clear an injury need not be

                    tangible to be concrete. See Spokeo, Inc., 578 U.S. at ––––, 136 S.Ct. at 1549; Havens

                    Realty Corp., 455 U.S. at 373, 102 S.Ct. 1114. Rather, this injury is one that Congress has

                    elevated to the status of a legally cognizable injury through the FDCPA. Accordingly,

                    Church has sufficiently alleged that she suffered a concrete injury, and thus, satisfies the

                    injury-in-fact requirement.”)(internal footnotes omitted); McCamis v. Servis One, Inc.,

                    2016 WL 4063403, at *2 (M.D. Fla. July 29, 2016)(“Here, Plaintiff alleges a concrete and

                    particularized injury in fact: Plaintiff has statutorily-created rights to be free from a debt

                    collector’s inappropriate attempts to collect a debt […] and to be free from being subjected

                    to false, deceptive, unfair, or unconscionable means to collect a debt. […] [V]iolation of

                    statutory rights is not a ‘hypothetical or uncertain’ injury, but ‘one that Congress has

                    elevated to the status of a legally cognizable injury through the FDCPA.’”)(quoting Church

                    v. Accretive Health, Inc., 654 Fed. Appx. 990, 995 (11th Cir. 2016)); Prindle v. Carrington

                    Mortg. Services, LLC, 2016 WL 4369424, at *8 (M.D. Fla. Aug. 16, 2016)(“Through §

                    1692e, Congress identified an existing concrete harm (being subjected to specific abusive

                    debt-collection practices) that, by itself, was inadequate at law to establish standing”).

                38. As a result of Defendant’s aforementioned FDCPA violations, Plaintiff has suffered actual

                    damages, including but not limited to stress, anxiety, frustration, and confusion, whereby

                    Plaintiff is entitled to relief for such, in addition to statutory damages and attorney’s fees

                    and costs.

                                        COUNT II – VIOLATION OF THE FCCPA

                39. Plaintiff re-asserts and re-alleges paragraphs 1 through 34 as if fully restated herein.


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                40. As detailed more fully above, Defendant is a debt collector and attempted to collect a

                    consumer debt from Plaintiff by and through Defendant’s Collection Letter. In doing so,

                    Defendant violated the FCCPA, to wit:

                          a. Section 559.72(5) by Disclosing to a person other than the Plaintiff or her or his

                             family information affecting the Plaintiff’s reputation, whether or not for credit

                             worthiness, with knowledge or reason to know that the other person does not have

                             a legitimate business need for the information or that the information is false.

                41. As a result of Defendant’s aforementioned FCCPA violations, Plaintiff has suffered actual

                    damages, including but not limited to fear, stress, confusion, deception, anxiety and worry,

                    whereby Plaintiff is entitled to relief for such, in addition to statutory damages, attorney’s

                    fees and costs.

                                              DEMAND FOR JURY TRIAL

                42. Plaintiff respectfully demands a trial by jury on all issues so triable.

                                                  PRAYER FOR RELIEF

                    WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against

             Defendants, awarding Plaintiff the following relief:

                    (a)      Statutory and actual damages, as provided under 15 U.S.C. §1692k, for the FDCPA
                             violations committed by Defendant in attempting to collect the Alleged Debt;

                    (b)      Statutory and actual damages, as provided under Fla. Stat. § 559.77(2), for the
                             FCCPA violations committed by Defendant in attempting to collect the Alleged
                             Debt;

                    (c)      An injunction prohibiting Defendant from engaging in further collection activities
                             directed at Plaintiff that are in violation of the FCCPA;

                    (d)      A declaration that Defendant’s collection effort as detailed herein violate the
                             FCCPA;

                    (e)      Costs and reasonable attorneys’ fees as provided by both 15 U.S.C. §1692k and

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                            Fla. Stat. § 559.77(2); and

                     (f)    Any other relief that the Court deems appropriate and just under the circumstances.

             DATED: May 18, 2021


                                                                 Respectfully submitted by:

                                                                 /s/ Benjamin W. Raslavich
                                                                 BENJAMIN W. RASLAVICH, ESQ.
                                                                 Florida Bar No.: 0102808
                                                                 KUHN RASLAVICH, P.A.
                                                                 2110 West Platt Street
                                                                 Tampa, Florida 33606
                                                                 Telephone: (813) 422 – 7782
                                                                 Facsimile: (813) 422 – 7783
                                                                 ben@theKRfirm.com
                                                                 Counsel for Plaintiff




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                        Monthly Payment Amount                                 $385.29              Sl40.I0                      $58.37
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                     Approumate Percentage Saved                                   45%               40%                          0%

   These offers expire on December 29, 2020. We are not obligated to renew these offers, however, if you would like additional lime lo
   respond to these options, please contact us.

   This iofonnation is not legal advioe. 1110 law limits how long you can be sued on a debL Because of the age of your deb~ we (Jefferson Capital
   Systems, LLC) cannot sue you foriL In manycimunstances, you can renew the debt and start the time period for the fihngofa lawsu11ngamst
   you ifyou take specific actions such as making certain payment on the debt or making a written promise to pay._You should_de1emune the elTect
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   ns unpaid for as long as the law permits this reporting.


   If none of these options work for you, there is sLill room to customize as needed. Our staff is lrained to assist you with n program thnt
   suits your needs.
   How to contact us:
           o Visit our web site at www.MyJCAP.com
           o By Phone: 866-339-6380 (English and Espanol) .                     .
           o Hours of Operation: Mon-Thurs 8 AM · 6 PM, Fn 8 AM - 4 PM Central Time
           o Send correspondence to: 16 Mcleland Road, Saint Cloud, MN 56303
           o Mail payments to: PO Box 772813, Chicago, IL 60677-2813

   Sincerely,
   Jefferson Capital Systems, LLC




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